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1    Call Date:         10/18/2018

2    Call Duration: 09:01

3    Call Begin [] Call End []

4    Call Participants:       Rick Singer

5                                 Parent A


6    File Name:                       2018-10-18 15-50-42 10301-001

7    Bates No.:

8    SINGER:      [00:00]           how are you?

9     Parent A    Hello?

10   SINGER:      Can you hear me?

11    Parent A    Hey, Rick, yeah.       It’s               How are you?

12   SINGER:      I’m good.     Thanks for calling back.

13    Parent A    Sure thing.

14   SINGER:      So here’s -- here’s the info I got for you.

15    Parent A    OK.

16   SINGER:      Um, we’re very late, as you know, but I got the Yale

17           soccer coach to help us.

18    Parent A    OK.

19   SINGER:      He is -- he is willing to give us, um, a -- a spot.

20           We have to do things very, very quickly and we have to

21           follow a -- a particular, um, protocol.       So what’s going

22           to happen is, um, we’re going to need to get your

23           daughter’s application ready, um, so that it can be
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1            submitted [01:00], um, sometime after November 1st because

2            obviously she’s applying early to -- to, um, WashU.

3     Parent A    Right.

4    SINGER:      But here’s -- but here’s kind of how it works.           The

5            soccer coach is going to be the one who gets, um, her

6            into school.   So I am going to have to create an athletic

7            profile for her.   So I will need you to send me a picture

8            of her, an action photo of her, and I will figure out how

9            I’m going -- my guess is she’s never played soccer

10           before.    Am I correct?

11    Parent A    Well, during ninth grade but that’s about it.

12   SINGER:      OK.    Well, if you have a picture of her in ninth

13           grade playing soccer, in an action photo, I’ll use that.

14    Parent A    OK.

15   SINGER:      Or if you want to give me one of her running ones or

16           give me a couple of them so I can figure out what I want

17           to use.

18    Parent A    Right.

19   SINGER:      Then I’ll create an athletic profile and then what

20           we’ll do is I’ll have you send me a transcript and test

21           score again.

22    Parent A    Mm-hmm.

23   SINGER:      And send me the picture [02:00] and then I will

24           create the profile.    Then I will provide to him the
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1            transcript, test score, and profile that can be seen by

2            admissions, um, just prior to us applying.      And then

3            what’ll happen is you will make a commitment to the

4            coach.    Um, normally they -- he wanted 1,200,000.

5     Parent A    OK.

6    SINGER:      And I got him down to a million because I said,

7            “Hey, um, Rudy, this is what, you know, you -- you know,

8            you want another kid and this is what I promised the

9            family.”

10    Parent A    Right.

11   SINGER:      Which was a million.    I didn’t say 1,200,000 to you.

12           So he - he begrudgingly gave us the million dollars.          So

13           what’ll happen is, um, you have to agree to all of that.

14           We will get a deposit, uh, for the payment of $200,000

15           sometime after November 9th.    [03:00]   And then what’ll

16           happen is her application will go in at the same time

17           under regular admission.    And then, um -- we’ve done this

18           a bunch of times every year.    So she will get admitted

19           because she’s getting one of his spots.

20    Parent A    OK.

21   SINGER:      And then what will happen is she will get her

22           admission, um, just prior to April 1st or April 1st with

23           everybody else.    Um, but she will be admitted as a, um,

24           under the student athlete soccer, um, tag because he’ll
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1            flag her in the system, that she is one of his.       And

2            essentially what he’s thinking -- what he’s going to do

3            is say that she’s a hell of a learner, great athlete, and

4            will have the opportunity to grow into a really good

5            soccer player because she’s played it.       Um, she just

6            decided to do a little cross country.       Um, and -- but

7            that she’s got this amazing stamina and ability and that

8            she could be, uh, a hell of a good soccer player.        So

9            that’s how he’s selling her as one of his spots.

10    Parent A    [04:00]    And they fell for that?

11   SINGER:      Does that make sense?    Absolutely.     Yeah, because

12           you remember that not everybody...       Like I have kids in

13           different sports -- like I just had a boy, uh, go to --

14           just got into -- just got into Stanford and he’s a

15           football player.    Never did rowing but because he has

16           great size and he’s tough, um, he -- and the -- and his

17           dad rowed with the -- with the rowing coach, he got

18           himself, uh, a spot at Stanford because they’re looking

19           at athletes.    Not necessarily the rowers because he’s

20           tough enough, has the right size.     And your daughter,

21           she’s going to have enough stamina and all that.       Now,

22           she will not have to be a part of the team when she gets

23           there.    This is just for admissions.    So you’re --

24    Parent A    Yeah.
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1    SINGER:      -- going through the side door.     He’s essentially

2            getting help, um, so you’re going to make your -- um, all

3            the -- all the payments will be made to the coach and

4            then the coach will figure out [05:00] what he does with

5            his money.    And at the end of the day, your daughter

6            shows up first day of school, she’s just a regular

7            student and everything goes on like it normally goes on.

8     Parent A    All right.    Now, let me ask you, you said I make the

9            payment to the coach.    Exactly who am I making a check

10           out to, Rick?

11   SINGER:      So you are actually making the coach -- the check

12           out to my foundation.

13    Parent A    All right.

14   SINGER:      Which is a 501(3)(c).    You will get your tax write-

15           off donation in --

16    Parent A    OK.

17   SINGER:      -- what is this year?    We’re in 2018.    So you’ll get

18           a $200,000 write-off for this year and then the other

19           $800,000 will come in the -- in the spring after she’s

20           gotten her acceptance letter and that too will also go to

21           my donate-- to my foundation and then I will take care

22           of, um, paying the coach.

23    Parent A    OK.     When you say the coach, you mean like you’re

24           making a donation to the soccer program or...?
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1    SINGER:      So -- so essentially it’s going to the coach and his

2            [06:00] program.    It is totally up to him to decide what

3            he does with the money.    So, um -- but you don’t have to

4            deal with that because I’m dealing with that on my

5            foundation side.    So what happens in all these programs

6            and all these coaches is they will tell me how they want

7            their money funded.    So let me give you an example.

8            There’s a couple schools that are in -- in very expensive

9            areas to live.

10    Parent A    Right.

11   SINGER:      And their coaches struggle to actually live in the

12           community because the colleges don’t pay enough.

13    Parent A    Right.

14   SINGER:      So instead of them doing 10 golf tournaments and

15           trying to raise money, they’ll come to me and say, “Hey,

16           Rick, I’ll give you a spot.     And if you can get me, um,

17           somebody that would help my program I will help them with

18           admissions.”     And then because they know I am the

19           guarantor, then they will tell me how they want their

20           funds split up.    So in some cases they [07:00] may say,

21           “Um, why don’t you 1099 one of my -- a couple of my

22           coaches and then that way they’re working for your

23           foundation and then you can fund them,” and that means --

24           that adds to their, um, salary.    Others will do-- uh,
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1            make it so that I fund a per-- percentage of the money to

2            their -- a -- let’s call it the equipment fund and that

3            equipment fund is able to pay the coaches more in their

4            salary.    Or there’ll be coaches that take their teams --

5            like water polo coaches will take their teams to Eastern

6            Europe to train for the summer --

7     Parent A    Right.

8    SINGER:      -- and they’ll take for 4 weeks and they need four

9            or five hundred thousand dollars to take 45, 60 kids.

10    Parent A    Right.

11   SINGER:      And then they’ll -- they’ll send me their invoice

12           and I’ll pay their invoice.

13    Parent A    I see.     All right.   But at that point I’m out of it.

14   SINGER:      Correct.

15    Parent A    OK.   And let me ask you, uh, how certain is what you

16           and I are talking about?     Are you telling me it’s there

17           if I want it?

18   SINGER:      I’m saying it’s a [08:00] you know, 90 to 95 percent

19           chance, um, because essentially we’ve never had anybody

20           not get in through this path because the coach is allowed

21           a certain number of spots.

22    Parent A    Right.
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1    SINGER:         And he’s essentially giving up one of his

2            recruitable spots to your daughter because he knows your

3            -- your payment will help his program grow.

4     Parent A       Right.   No, I get it.    I get it.   And so you -- when

5            you say 95, uh, which is different than 100, I

6            understand, but let’s say we do this and for some reason

7            something goes wrong, what happens to my 200gs?

8    SINGER:         Um, you’ll get your 200 back.

9     Parent A       Right.

10   SINGER:         You’ll get your 200 back.

11    Parent A       OK.   All right.    Um, well, look.   That’s all pretty

12           cool.    I appreciate it very much.      Um, so I got to get on

13           the phone with my wife now and tell her this is all, you

14           know, kind of live.        Um, and, uh, and let me then circle

15           back with you in a couple days.        Is that cool?

16   SINGER:         That’s terrific.     Thank you so much.

17    Parent A       All right, thanks.     I appreciate it.

18   SINGER:         OK, you got it.     Bye-bye.

19    Parent A       Take care now.     All right, bye-bye.

20   SINGER:         [09:00] Bye-bye. [09:01]

21

22                                END OF AUDIO FILE
